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 5

 6                             UNITED STATES DISTRICT COURT
 7                                      DISTRICT OF NEVADA
 8                                             ***
 9     MICHAEL ERWINE,
10                         Plaintiff,                Case No.: 3:18-cv-00461-RCJ WGC
       vs.
11
       CHURCHILL COUNTY, a political                 AMENDED COMPLAINT
12     subdivision of the State of Nevada;
       CHURCHILL COUNTY SHERIFF                      JURY TRIAL DEMANDED
13     BENJAMIN TROTTER; and DOES 1
       through 10 inclusive;
14
                        Defendants.
15     _____________________________________/
16

17
             COMES NOW, MICHAEL ERWINE, (“Erwine” or “Plaintiff”), by and through
18

19 the undersigned counsel, and files the following Amended Complaint seeking

20
      redress for the violation by of Erwine’s rights to be free from violation of his rights
21
      under the First and Fourteenth Amendments of the United States Constitution
22

23 and for various pendent state law claims against CHURCHILL COUNTY, a

24 political subdivision of the State of Nevada; and SHERIFF BENJAMIN TROTTER

25
      (“Sheriff Trotter”) (collectively “the Defendants”); and JOHN DOES I through X,
26

27 inclusive.

28


                                                 1
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             This Amended Complaint is filed according to the leave granted by the
 1

 2 Court at the Status Conference held on August 3, 2020 (See Doc. # 62).

 3
                                           Jurisdiction
 4
             1.      This action arises primarily under 42 U.S.C. Section 1983.
 5

 6           2.      This Court has jurisdiction of this action pursuant to 28 U.S.C.

 7     Sections 1331, 1343, 1367, 2201 and 42 U.S.C. Sections 1983 and 1988, as the
 8
       Plaintiff’s claim arises under Federal Law.
 9

10           3.      The Court has personal jurisdiction over the Defendants because the

11     alleged incident described below occurred within this District.
12
                                               Venue
13

14           4.      Venue is proper pursuant to 28 U.S.C. Section 1391 in the Northern

15     District of Nevada because the acts giving rise to the Plaintiff’s claims occurred
16
       in this District.
17
                                               Parties
18

19           5.      Mr. Erwine is a former Deputy Sheriff for Churchill County. Erwine
20
       currently resides in Carson City, Nevada.
21
             6.      Churchill County is a political subdivision of the State of Nevada.
22

23           7.      Sheriff Trotter was employed by the Churchill County as Sheriff at
24     the times relevant to this Complaint. Trotter was at all times relevant herein
25
       acting under color of state law as described below. Sheriff Trotter is sued in his
26

27     individual capacity.

28


                                                 2
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             8.     Trotter, as Sheriff of Churchill County, was the officer with final
 1

 2     policymaking authority over personnel matters within the Churchill County
 3
       Sheriff’s Office.
 4
                                      Statement of Facts
 5

 6           9.     Between December 9, 2015 and October 10, 2016, Defendant

 7     employed Plaintiff in the capacity of Detention Deputy.
 8
             10.    On December 9, 2015, Plaintiff took an Official Oath to among other
 9

10     things, faithfully perform all the duties of the office of the Deputy Sheriff and to

11     support, protect and defend the Constitution and Government of the United
12
       States, and the Constitution and Government of the State of Nevada.
13

14           11.    On December 9, 2015, the first day Plaintiff was employed by

15     Defendant, Plaintiff reviewed and signed various acknowledgements certifying
16
       his receipt and review of new hire documents including but not limited to Safety
17
       Rules and Regulations, Workplace Safety, Harassment Policy, General Safety,
18

19     Fraud Prevention, and even acknowledgement of the Job Description of a
20
       Detention Deputy Sheriff. In the Job Description, Essential Functions of a
21
       Detention Deputy Sheriff included the following:
22

23           a. Accountability for inmates-Conducts daily headcounts, periodic
             cell and pod checks; moves inmates to and from locations for court
24           appearances, medical care, visits, etc.
25           b. Intake and release of inmates- Brings inmates into the jail by
             conducting searches, booking questionnaires, fingerprints,
26           photography, access to money and phone.
27           c. Ensures Safety of Inmates and Staff- Conduct facility and
             person searches for weapons/drugs/contraband; conduct
28           surveillance, investigations, and reports of crimes committed

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            within the detention facility; monitor activity of inmates;
 1
            handle inmates with mental health issues- Carry out processes to
 2          ensure that inmates are provided with adequate food,
            clothing, medicine, and clean living arrangements; Conduct
 3
            inspections of living conditions to ensure compliance with
 4          departmental policy and federal law.
            d. Customer Service- Receives and screens visitors and telephone
 5          calls and directs the caller to the proper person or personally
 6          handles the call; provide information which requires the use of
            judgment and interpretation of policies, rules and procedures.
 7          e. Court Appearances- Transports inmates to and from court;
 8          provides security for court staff and inmates during
            proceedings; updates legal paperwork to ensure timely
 9          compliance with court orders; responds to emergencies in the
10          court house.
            f. Medical Treatment- Provide first aid for inmates as required;
11          triage inmates for physician visits and needs for emergency
12          medical treatment and transport; sets up medications and
            distribute to inmates daily as required; complete
13          documentation for medical issues; provide security for medical
14          staff.
            g. Extraditions- Transport inmates to other agency jails, courts,
15          and other facilities; send notices to other agencies of arrests,
            process warrants, and set-up extraditions with outside
16
            companies who transport inmates.
17          h. Represents the County with dignity, integrity, and a spirit of
            cooperation in all relationships with staff and the public.
18

19          12.    From the commencement of Erwine's employment with Defendant
20
       Erwine witnessed the Defendant’s officials blatantly disregard basic
21
       Constitutional rules, and further disregard the essential duties of a Detention
22

23     Deputy.

24          13.    During one instance, almost immediately after beginning his tenure
25
       with the County, Erwine witnessed that an Inmate in the detention facility's
26

27     security cell, Jimmy Thomas, had urinated inside of the security cell. Erwine

28     witnessed Sergeant Summers open the door to the Mr. Thomas' cell and swiftly

                                                4
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       push the urine with a squeegee so as it became airborne and splashed all over
 1

 2     Mr. Thomas who was sleeping. Sergeant Summers laughed about this as if it
 3
       was entertaining to him. Deputy Davis was also present during this incident.
 4
       When Erwine spoke to Deputy Davis after the fact, Deputy Davis informed
 5

 6     Erwine “it is just the way things are." and "It would be best to look the other

 7     way."
 8
               14.   Erwine witnessed Sergeant Summers treat other inmates the same
 9

10     way when they had urinated in the security cell.

11             15.   On or about April 16, 2016, female inmate Lacy Habberstead
12
       approached Erwine saying she wanted to talk to a sergeant about something
13

14     took place while she was at the hospital with Deputy Keller. Ms. Habberstead

15     informed Erwine that Deputy Keller had her drop her pants in front of him and
16
       watched her as she used the bathroom. Ms. Habberstead asked Erwine if
17
       Deputy Keller's actions were appropriate, and Erwine informed Ms. Habberstead
18

19     that he would talk to the Sergeant about it. Erwine told Sergeant Summers about
20
       Habberstead's complaint and that she wanted to talk to Summers about it;
21
       however, Sergeant Summer's response was "Oh Jesus Christ Erwine, why don't
22

23     you just hug them all" ... "They are inmates for Christ's sake.”
24             16.   A few days later Captain Matheson went to Erwine and asked him
25
       about the event. Erwine repeated to Captain Matheson the information he
26

27     previously provided to Deputy Keller. Shortly after Captain Matheson's

28     discussion with Erwine, Deputy Keller stopped Erwine in the hallway and

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       attempted to talk to Erwine about Habberstead's complaint. Deputy Keller told
 1

 2     Erwine, "we don't report that kind of stuff around here."
 3
            17.    During a separate occasion, an inmate, Samuel Davis, was
 4
       transported to the jail by Officer Zamora of the Fallon Police Department.
 5

 6     Sergeant Summers and Erwine met with Officer Zamora outside of her patrol

 7     car. When Sergeant Summers opened the door to the patrol car Mr. Davis
 8
       began to shout obscenities at Summers. Sergeant Summers dragged the Mr.
 9

10     Davis out of the patrol car, grabbed him by his throat, and slammed him against

11     the side of the car. Sergeant Summers held Mr. Davis by his throat and asked
12
       him about the comments he made. After booking Mr. Davis into jail Sergeant
13

14     Summers told Erwine to write his use of force report for him and be sure to

15     include that it was because of the inmate's "physically aggressive nature" that he
16
       used the force he did. A few days later, Sergeant Summers called Erwine into
17
       his office to discuss the Mr. Davis' booking. He also told Erwine to "watch out for
18

19     that bitch" (referencing Officer Zamora of the Fallon Police Department) because
20
       she reported him for excessive force against the inmate. Just a few days later,
21
       Captain Matheson talked to Erwine about Sergeant Summers in relation to Mr.
22

23     Davis' booking. Shortly after talking to Captain Matheson, Sergeant Summers
24     yelled, "Did you rat me out?" while walking past Erwine in the hallway.
25
            18.    On numerous occasions Erwine witnessed both Deputies and
26

27     Sergeants go through female inmate's phones while being booked to seek out

28


                                                6
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       and view private pornographic photos. Two specific inmates that Erwine can
 1

 2     recall this took place with were Jillian Whickem and Ashley Gokey.
 3
            19.    On or about August 17, 2016, while walking through the parking lot
 4
       to Erwine's vehicle after his shift was over, he was stopped by Deputy Hardin,
 5

 6     Luesing, and Maynez. While Erwine stood in the parking lot engaging in after

 7     work conversation with his fellow co-workers, Sergeant Summers walked out
 8
       into the parking lot and shouted, "Erwine what the fuck are you still doing here?
 9

10     Go home." Erwine thought Summers was bantering with him, however Sergeant

11     Summers continued to say, "I'm serious, get the fuck out of my parking lot." The
12
       next day Erwine reported the incident to Captain Matheson and explained how
13

14     Erwine felt the comments Summers made were very unprofessional. Captain

15     Matheson responded by saying, "You know how Sergeant Summers is ... " and
16
       offered no resolution to Erwine' s concern.
17
            20.    On October 8, 2016, while Erwine was completing his essential job
18

19     functions, he went onto day shift and began checking cells. Erwine was informed
20
       that an inmate, Andrew Beaulieu ("Beaulieu") was in the security cell and needed
21
       to be booked. When Erwine arrived at Beaulieu' s security cell he noticed blood
22

23     on the walls and asked the grave shift deputy what the blood was from. The
24     grave shift deputy informed Erwine that Beaulieu had come in with a cut on his
25
       hand and that it ripped open while in the cell.
26

27          21.    After investigating the circumstances, Erwine discovered Beaulieu

28     had been requesting water for hours. Erwine was informed by the inmate and

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       later confirmed during review of surveillance footage that every time Beaulieu
 1

 2     ·would request water, the grave shift deputy would flush the drain in Beaulieu's
 3
       cell making Beaulieu's request inaudible over the flushing noise.
 4
            22.    Erwine provided Beaulieu with water pursuant to his essential job
 5

 6     functions to provide inmates with food and explained to Beaulieu what the rest of

 7     the booking process would look like. During this time, Beaulieu expressed to
 8
       Erwine that the grave shift deputies were "assholes" and he would be filing a
 9

10     lawsuit against them.

11          23.    In accordance with Erwine's essential job functions, Erwine
12
       continued to conduct his rounds in the jail. While Erwine was conducting his
13

14     rounds, other inmates asked Erwine what had happened to the "guy in the

15     security cell" the previous night and explained what the grave shift did "was
16
       messed up." Inmate Zachary White even filed a grievance request to Captain
17
       Matheson regarding the treatment of Beaulieu. As previously stated, Erwine did
18

19     go back and review surveillance footage of the grave shift's interaction with
20
       Beaulieu before he removed him for booking, mainly to be aware of any safety
21
       concerns with Beaulieu before removing him from the security cell. Erwine did
22

23     not note any alarming actions by Beaulieu wherein Erwine would need to be
24     concerned, however, he did note concerning inappropriate acts of the grave
25
       shift deputy that he believed needed to be brought to his sergeant's attention.
26

27     Since the concerns were not an immediate threat, and the sergeant did not work

28     on weekends, Erwine chose to log the events on his computer, so he could

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       follow up with his sergeant on Monday, October 10, 2016, when his sergeant
 1

 2     returned to work.
 3
            24.    On Sunday, October 9, 2016, during Erwine's dayshift, Deputy
 4
       Jabines had dropped a container of miscellaneous tools and other items inside
 5

 6     of a booking cage. Included in these items were screwdrivers and other sharp

 7     instruments. Deputy Jabines did not want to pick up the items herself so she
 8
       asked an inmate to come into the booking cage and pick them up for her.
 9

10     Bringing in an inmate to pick up the sharp inmates created a dangerous situation

11     for everyone involved. Erwine did not feel it was appropriate for Deputy Jabines
12
       to have an inmate, Matthew Maes, come into the booking cage to pick up items
13

14     which could be easily used as weapons. Erwine questioned Deputy Jabines

15     about this but her only response was "Senior Deputy" which Erwine understood
16
       as to mean he did not have a say in the matter.
17
            25.    When the Matthew Maes ("Maes") came into the cage, Erwine
18

19     positioned himself between Maes and the control panel of the facility. Erwine
20
       was in an uncomfortable position with Maes being only a few feet away from
21
       Erwine and backed into a corner. Erwine removed his taser from its holster and
22

23     held it in his hand with the taser pointed to the ground. Erwine chose to remove
24     the cartridge from the taser due to the close proximity of inmate Maes to both
25
       Erwine and Deputy Jabines. Maes cleaned up the items and left the cage without
26

27     incident.

28


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          26.     On Saturday, October 8, 2016, Erwine tried to bring the concerns of
 1

 2   the mistreatment during the Beaulieu Incident to the attention of Sgt. Summers.
 3
     Summers, however, did not show concern and stated "He's [Beaulieu] an inmate,
 4
     Fuck him."
 5

 6        27.     Near the end of Erwine's shift on October 10, 2016, Erwine was

 7   called into the office of Nuckolls where Erwine was confronted by Captain
 8
     Mathenson and Sheriff Trotter. Sheriff Trotter informed Erwine that he was
 9

10   aware of the booking that took place over the weekend with Beaulieu and that

11   Erwine's concerns were intentional to harm the Department. Erwine began to
12
     speak about the Beaulieu Incident as he had originally intended to do from the
13

14   beginning of his shift that day, however, Erwine was not afforded any opportunity

15   to explain what he had witnessed or discovered. Instead, Trotter stated Erwine
16
     had two choices: 1) he could resign, or 2) the Department would terminate his
17
     employment effective immediately. Either way, Erwine was informed his
18

19   employment was not continuing after the current meeting he was present in.
20
     Erwine signed a Letter of Separation on October 10, 2016.
21
          28.     Erwine was escorted out of the Detention Center after he executed
22

23   the Letter of Separation and was not able to retrieve any of his paperwork from
24   the Detention Center.
25
          29.     Before Sheriff Trotter’s constructive discharge of Erwine, Erwine was
26

27   provide with no notice that he had been accused on misconduct. He was not

28   afforded a hearing, and he had no meaningful opportunity to be heard.

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          30.    On October 11, 2016, Erwine met with Captain Mathenson at his
 1

 2   office to return some of Erwine's gear that he had at his residence. Erwine tried
 3
     to speak to Captain Mathenson to find out why he was given the ultimatum to
 4
     resign or be terminated. Captain Mathenson' s response was "You know what
 5

 6   Mike, I think you were just trying too hard to be a cop."

 7        31.    Until the instances that occurred on October 9 and October 10 the
 8
     only other document that appeared in Erwine's employee file was an Employee
 9

10   Evaluation Report which ranked overall at a "Fair" rating. Under the

11   "Professionalism" rating it was noted that "Erwine has made mistakes and made
12
     excuses for them rather than holding himself accountable … When Deputy
13

14   Erwine made a mistake, Deputy Erwine's reason was Deputy Davis did not show

15   him that way or did not show him at all." The note explaining Deputy Erwine's
16
     overall "Fair" rating stating, "Deputy Erwine would be rated a lot higher and
17
     further along in his training program if it was not for his issues with
18

19   accountability. Accountability has effected [sic] every area in his training
20
     program."
21
          32.    Immediately following the instances that occurred on October 9 and
22

23   October 10 a memorandum appeared in Erwine's file with statements and
24   documentation from individuals compiled by Sheriff Trotter (“Trotter’s
25
     Memorandum”). Trotter’s Memorandum contains several false and defamatory
26

27   statements about Erwine and his performance.

28


                                              11
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          33.    Trotter’s Memorandum and the allegations regarding his
 1

 2   performance were never shared with Erwine before he was terminated.
 3
          34.    Trotter’s Memorandum was inserted into Erwine’s employee file
 4
     without Erwine’s knowledge.
 5

 6        35.    Trotter’s Memorandum specifically alleges and asserts facts and

 7   items of concern that would make it difficult if not impossible to obtain gainful
 8
     employment as a police officer, specifically the items of concern related to the
 9

10   alleged facts contained in the report are:

11        [Erwine's conduct] is unprofessional behavior. [Erwine] creates a
12        liability for this agency now or for some time into the future should
          Inmate Maes elect to pursue civil action. [Erwine] discredits our
13        agency and our profession. In a time when scrutiny is high on all of
14        us in law enforcement, this type of play [Erwine's alleged actions]
          is inexcusable. Deputy Erwine clearly violated our policies on Taser
15        and Use of Force, as well as, behavior standards.
16
          36.    Contrary to the Evaluation Report, Erwine did not have accountability
17
     issues, rather he was retaliated against for trying to hold the other personnel
18

19   accountable to the standards he acknowledged upon the commencement of his
20
     employment. Thus, Sheriff Trotter made plain in Trotter’s Memorandum that it
21
     was the policy of his department that officers who observe and even
22

23   contemplate reporting the misconduct of other officers will be summarily fired
24   without recourse to and due process or the disciplinary protections provided
25
     under Nevada Law in Chapter 289.
26

27        37.    NRS 289.040 provides a procedure for the placing of unfavorable

28   comments or documents in administrative file of peace officer and associated

                                              12
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     rights of a peace officer to contest the comments or documents. Trotter did not
 1

 2   follow the procedure in NRS 289.040 before placing the unfavorable comments
 3
     at issue in this case in Erwine’s file.
 4
           38.    NRS 289.057 provides procedures for investigation into allegations
 5

 6   of misconduct of a peace officer, none of which were followed by Trotter in

 7   Erwine’s case.
 8
           39.    NRS 289.060 provides that a law enforcement agency shall, not later
 9

10   than 48 hours before any interrogation or hearing is held relating to an

11   investigation conducted pursuant to NRS 289.057, provide a written notice to the
12
     peace officer who is the subject of the investigation and associated rights, none
13

14   of which were followed by Trotter in Erwine’s case.

15         40.    It is also notable, that none of Erwine's concerns or complaints
16
     made to the Detention Facility were placed in his employment file, and though a
17
     formal internal affairs investigation was not conducted regarding any of the
18

19   Incidents, the reports of Erwine's fellow co-workers were placed in his file
20
     without any supporting documentation or even without taking a statement from
21
     Erwine.
22

23         41.    Approximately two weeks after the Maes incident, Maes was
24   informed by Deputy Jabines that Deputy Erwine was terminated from his
25
     employment with Churchill County Sheriff’s Office because "he was a rat."
26

27

28


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          42.    Succeeding the release of Maes, Maes reached out to Erwine to
 1

 2   inform him of the conversation he had with Deputy Jabine regarding his
 3
     improper termination.
 4
          43.    During the conversation, Maes informed Erwine that during the Maes
 5

 6   Incident his recollection of events reinforced Erwine' s story and were contrary

 7   to the falsified report placed in Erwine's employment file. Maes confirmed the
 8
     taser was never pointed at him, and the taser was never discharged. Maes did
 9

10   not recall a sound or spark being produced from the Maes Incident, also

11   contrary to the biased report placed in Erwine's employment file. Maes affirmed
12
     during the Maes incident, Maes did not at any point feel threatened in any way.
13

14        44.    During the course of Erwine' s employment, whenever Erwine

15   approached his seniority regarding concerns of misconduct he was merely
16
     brushed off and informed the misconduct was "just the way things were."
17
          45.    Erwine was not given a notice of misconduct regarding the Beaulieu
18

19   Incident, he never received a warning regarding any alleged misconduct, and
20
     further he was never reprimanded. Erwine was not given an opportunity to
21
     improve upon his alleged misconduct.
22

23        46.    With the October Incidents being the first incidents in his file, Erwine
24   had a right to receive further guidance from the Department before being forced
25
     to resign. Erwine did not commit any professional misconduct; however, to date,
26

27   in his employment file sits biased reports from seniority in retaliation against

28   Erwine for trying to follow Nevada Law and Department policy.

                                              14
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          47.   Subsequent to Erwine' s "resignation," Erwine sought employment
 1

 2   elsewhere with numerous agencies that had posted job openings across the
 3
     entire State of Nevada.
 4
          48.   On December 6, 2016, Washoe County Sheriff’s Office contacted
 5

 6   Churchill County Detention Center and requested any information regarding any

 7   pre-employment background investigations, employment information, and any
 8
     information regarding reprimands and his resignation.
 9

10        49.   On January 17, 2017, Erwine received a letter from the Washoe

11   County Sheriff informing him that, "…the Sheriff's Office has determined that you
12
     do not meet the established standards for a position as Deputy Sheriff and
13

14   therefore you have not been selected at this time.”

15        50.   On February 7, 2017, Erwine received an email from Las Vegas
16
     Metropolitan Police in response to his application for employment informing him,
17
     "…based on review of your background history, you will no longer be considered
18

19   for the position(s) of Police Recruit C 16-001 November with the Las Vegas
20
     Metropolitan Police Department. Candidate does not meet LVMPD hiring
21
     standards based on Employment History” and “You are not eligible to apply with
22

23   LVMPD for any position indefinitely.”
24        51.   On September 8, 2017, Erwine received a letter from the Carson
25
     City Department of Alternative Sentencing informing him that he is, "…no longer
26

27   being considered in the current recruitment due to failing on or more portions of

28   the selection process" which included the Background Investigation and Chiefs

                                             15
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     Review, and “Based on our recruitment standards you are precluded from
 1

 2   reapplying with our agency in the future.”
 3
          52.    On September 12, 2017, Erwine received from Douglas County
 4
     Sheriff a letter informing him that he, "…did not successfully complete the
 5

 6   background evaluation/testing and therefore are no longer considered an

 7   eligible applicant for employment.... "
 8
          53.    On November 14, 2017, Erwine received a letter from North Las
 9

10   Vegas Police informing him he was "...ineligible to continue in the employment

11   process for the position of Police Officer ... " for character Issues and his
12
     employment history,” and “You are disqualified indefinitely.”
13

14        54.    On January 4, 2017, Erwine received a letter from the Nevada

15   Department of Safety informing him, "We have carefully reviewed your
16
     qualification for the above referenced position and considered your background
17
     information. We regret to inform you that you are no longer being considered for
18

19   a DPS Officer position with the Nevada Department of Public Safety."
20
          55.    On March 1, 2018, Erwine received a letter from Reno Police
21
     Department informing him that his, " ... application for employment with the Reno
22

23   Police Department for [Police Recruit] was rejected, based on your pre-
24   employment background investigation.”
25
          56.    After reviving the rejection letters listed above, Erwine requested his
26

27   employee file from the Churchill County Sheriff’s Office on several occasions but

28


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     was refused his file until Erwine received via email a complete copy of his
 1

 2   employee file on April 13, 2018.
 3
          57.    Trotter’s Memorandum was provided to the law enforcement
 4
     agencies mentioned above.
 5

 6        58.    Trotter’s Memorandum is the reason why Erwine was not hired by

 7   the law enforcement agencies mentioned above.
 8
          59.    Trotter’s Memorandum and the reports in Erwine's file from his fellow
 9

10   co-workers in October of 2016, should not have been placed in his permanent

11   file, and should not be public information provided to potential future job
12
     candidates for reasons stated above, however, it is clear that the reports which
13

14   have no merit and were intentionally placed in his file remain in Erwine' s

15   permanent employment file to harm Erwine’s employment prospects, and are/or
16
     were distributed to each prospective law enforcement agency that inquiries
17
     about Erwine' s employment history, thereby interfering and preventing Erwine
18

19   from obtaining prospective employment.
20
          60.    By the above-described malicious acts, and as a direct result,
21
     Defendant caused Erwine to lose the benefit of gainful employment at his chosen
22

23   occupation for a period of almost three years.
24        61.    The Plaintiff has suffered damages as a result of the disregard for his
25
     Constitutional rights by the Defendants, including but not limited to emotional
26

27   distress, anguish, and humiliation caused by Erwin’s unlawful discharge from

28   employment and violation of his Constitutional rights described above.

                                             17
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                                        CLAIMS FOR RELIEF
 1

 2                       42 U.S.C. 1983 - VIOLATION OF DUE PROCESS
 3
                               (PROTECTED PROPERTY INTEREST)
 4
                                    (Against Defendant Trotter)
 5

 6         62.     Plaintiff repeats and realleges the allegations set forth in the

 7 foregoing Paragraphs as though fully set forth herein.

 8
           63.     Predeprivation notice, a hearing, and an opportunity to be fairly
 9

10 heard must occur before employees are finally deprived of their property interest

11 by the government. Mathews v. Eldridge, 424 U.S. 319, 347, 96 S. Ct. 893, 909

12
     (1976); Brewster v. Bd. of Educ., 149 F.3d 971, 984 (9th Cir. 1998).
13

14         64.     By their conduct, as described herein, Defendant is liable to the

15 Plaintiff under 42 U.S.C. § 1983 for the violation, under color of state law, of the

16
     constitutional right to be free from any deprivation of property without due
17
     process of law under the Fifth and Fourteenth Amendments to the United States
18

19 Constitution.

20
           65.     Trotter violated numerous provisions of NRS Chapter 289
21
     specifically 289.040, 289.057, and 289.060 governing the rights of peace officers
22

23 in the State of Nevada, including the Plaintiff, which rules secure certain benefits

24 that support a claim of entitlement to those benefits by the Plaintiff.

25
           66.     The provisions of NRS Chapter 289 specifically 289.040, 289.057,
26

27 and 289.060 create a protected property interest that is protected by the Due

28


                                                18
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     Process Clause of the 5th and 14th Amendments to the Constitution and the
 1

 2 Nevada Constitution the violation of which caused damages to the Plaintiff.

 3
           67.    The acts of the Defendants described above were dishonest,
 4
     intentional, wanton, malicious, and oppressive, thus entitling Plaintiff to an award
 5

 6 of punitive damages.

 7         68.    In addition to the relief requested above, the Plaintiff requests relief
 8
     as described in the prayer for relief below.
 9

10                      42 U.S.C. 1983 - VIOLATION OF DUE PROCESS

11                              (PROTECTED LIBERTY INTEREST)
12
                                   (Against Defendant Trotter)
13

14         69.    Plaintiff repeats and realleges the allegations set forth in the

15   foregoing Paragraphs as though fully set forth herein.
16
           70.    By their conduct, as described herein, Defendant Trotter is liable to
17
     the Plaintiff under 42 U.S.C. § 1983 for the violation, under color of state law, of
18

19   the constitutional right to be free from any deprivation of liberty without due
20
     process of law under the Fifth and Fourteenth Amendments to the United States
21
     Constitution.
22

23         71.    Trotter made false and stigmatizing comments about Erwine.
24         72.    Trotter’s false and stigmatizing comments were disclosed to the
25
     Washoe County Sheriff’s Office, the Las Vegas Metropolitan Police Department,
26

27   the Carson City Department of Alternative Sentencing, the Douglas County

28


                                               19
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     Sheriff’s Office, the Nevada Department of Public Safety Letter, and the North
 1

 2   Las Vegas Police Department.
 3
          73.    Erwine has suffered a tangible loss of employment as a result of the
 4
     public disclosure.
 5

 6        74.    Trotter's false and stigmatizing comments about Erwine violate

 7   Erwine’s Due Process Clause of the 5th and 14th Amendments to the
 8
     Constitution, the violation of which caused damages to the Plaintiff.
 9

10        75.    The acts of the Defendants described above were dishonest,

11   intentional, wanton, malicious, and oppressive, thus entitling Plaintiff to an award
12
     of punitive damages.
13

14        76.    In addition to the relief requested above, the Plaintiff requests relief

15   as described in the prayer for relief below.
16
                                 42 USC 1983 - MONELL CLAIM
17
                                    (Against Churchill County)
18

19        77.    Plaintiff repeats and realleges the allegations set forth in the
20
     foregoing Paragraphs as though fully set forth herein.
21
          78.    At all relevant times herein, Defendant Churchill County acting
22

23   through its Sheriff’s Office, developed, implemented, enforced, encouraged and
24   sanctioned de facto policies, practices, and/or customs exhibiting deliberate
25
     indifference to the Plaintiffs' constitutional rights which caused the violation of
26

27   such rights as described herein.

28


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           79.   All actions described herein by Trotter are a policy or custom of
 1

 2   Churchill County. See Jett v. Dallas Independent School District, 491 U.S. 701,
 3
     737 (1989), a policy or custom becomes official when it results from the decision
 4
     or acquiescence of the municipal officer or body with final policymaking
 5

 6   authority over the subject matter of the offending policy. Trotter was the

 7   municipal officer with final policymaking authority over personnel matters within
 8
     the Churchill County Sheriff’s Office.
 9

10         80.   Defendants' unlawful actions were done willfully, knowingly and with

11   the specific intent to deprive the Plaintiff of his Constitutional Rights under the
12
     Fifth and Fourteenth Amendments to the U.S. Constitution without due process
13

14   of law.

15         81.   The constitutional abuses and violations by Defendant Churchill
16
     County through the actions of its Sheriff’s Office and all named Defendants,
17
     were and are directly and proximately caused by policies, practices and/or
18

19   customs developed, implemented, enforced, encouraged and sanctioned by
20
     Defendant Churchill County, including its practice and policy of unlawfully
21
     terminating the employment of law enforcement officers who monitor and
22

23   document police activities and/or misconduct by other officers in the Churchill
24   County Sheriff’s Office and failing to follow the requirements of the provisions of
25
     NRS Chapter 289 specifically 289.040, 289.057, and 289.060.
26

27         82.   Upon information and belief, Defendant Churchill County has, acting

28   through its Sheriff’s Office, developed, implemented, enforced, encouraged and

                                              21
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     sanctioned a de facto policy, practice, and/or custom of unlawfully terminating
 1

 2   the employment of law enforcement officers who monitor and document police
 3
     activities and/or misconduct by other officers in the Churchill County Sheriff’s
 4
     Office and failing to follow the requirements of the provisions of NRS Chapter
 5

 6   289 specifically 289.040, 289.057, and 289.060.

 7         83.    Defendants' unlawful actions were done willfully, knowingly and with
 8
     the specific intent to deprive Plaintiff of his constitutional rights under the Fifth
 9

10   and Fourteenth Amendments to the U.S. Constitution.

11         84.    Defendants have acted with deliberate indifference to the
12
     constitutional rights of the Plaintiff.
13

14         85.    As a direct and proximate result of the acts as stated herein by each

15   of the Defendants the Plaintiff’s constitutional rights have been violated which
16
     has caused him to suffer mental and emotional injury and pain, mental anguish,
17
     suffering, humiliation, and embarrassment.
18

19               VIOLATION OF DUE PROCESS – NEVADA CONSTITUTION
20
                                  (Against All Defendants)
21
           86.    Plaintiff repeats and realleges the allegations set forth in the
22

23   foregoing Paragraphs as though fully set forth herein.
24         87.    Article 1 Section 8(5) of the Nevada Constitution provides that no
25
     person shall be deprived of life, liberty, or property without due process of law.
26

27   Due process forbids action which is fundamentally unfair and shocking to the

28   universal sense of justice. Summers v. Warden of Nev. State Prison, 84 Nev.

                                               22
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     326, 329, 440 P.2d 388, 390 (1968). Nevada law very clearly requires that a
 1

 2   state agency must follow procedures required by statute governing employee
 3
     discipline. McCracken v. Elko County Sch. Dist., 103 Nev. 655, 747 P.2d 1373
 4
     (1987). Because Erwine had a constitutionally protected property interest in his
 5

 6   job, he was entitled to due process before being deprived of that interest under

 7   Nevada law. Pressler v. City of Reno, 118 Nev. 506, 511, 50 P.3d 1096, 1098
 8
     (2002).
 9

10        88.    Trotter violated numerous provisions of NRS Chapter 289 governing

11   the due process rights of Peace Officers in the State of Nevada, including the
12
     Plaintiff, which rules secure certain benefits that support a claim of entitlement to
13

14   those benefits by the Plaintiff, including but not limited violation of NRS 289.040,

15   which provides the opportunity to either review or sign disciplinary documents
16
     before they are placed into a peace officer’s file; NRS 289.057, which provides a
17
     peace officer the opportunity to review their file after an investigation; NRS
18

19   289.060, which requires that a peace office be given notice of investigation; NRS
20
     289.080, which provides that a peace officer be given opportunity to have
21
     representatives at an investigatory or disciplinary hearing.
22

23        89.    Trotter’s conduct was also fundamentally unfair and shocking to the
24   universal sense of justice, as Erwine was fired by Trotter for trying to protect the
25
     Constitutional rights of inmates at Churchill County. Trotter then inserted and
26

27   sheared with other police departments the defamatory and false statements

28


                                              23
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     about Erwine, such that no other law enforcement agency would strongly
 1

 2   consider hiring him.
 3
           90.     The provisions of Nevada Revised Statutes (“NRS”) Chapter 289
 4
     create a property interest that is protected by the Due Process Clause of the
 5

 6   Nevada Constitution, the violation of which by the Defendants caused damages

 7   to the Plaintiff.
 8
                   TORTIOUS DISCHARGE IN VIOLATION OF PUBLIC POLICY
 9

10                                    (Against All Defendants)

11         91.     Plaintiff repeats and realleges the allegations set forth in the
12
     foregoing Paragraphs as though fully set forth herein.
13

14         92.     Plaintiff, acting in good faith, refused to engage in conduct that

15   would violate the United States Constitution and the laws of the State of Nevada.
16
           93.     Defendants created working conditions so intolerable and
17
     aggravated based on the fact that a reasonable person in Plaintiff's position
18

19   would have felt compelled to resign.
20
           94.     Due to such working conditions, Plaintiff resigned from his
21
     employment with Defendant.
22

23         95.     Defendants had actual or constructive knowledge of the intolerable
24   actions and conditions of employment and their impact upon Plaintiff, despite
25
     alternate or available remedies.
26

27         96.     The Defendant's decision to discharge the Plaintiff was in bad faith

28   and was proximately caused by the Plaintiff’s actions and was in derogation of

                                                24
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     the public policy of the State of Nevada, preventing the firing of employees for
 1

 2   opposing the unlawful practices of an employer.
 3
          97.    As a direct and proximate result of Defendant's tortious constructive
 4
     discharge Plaintiff suffered damages.
 5

 6                                        DEFAMATION

 7                                  (Against All Defendants)
 8
          98.    Plaintiff repeats and realleges the allegations set forth in the
 9

10   foregoing Paragraphs as though fully set forth herein.

11        99.    Defendant knowingly made false and defamatory statements about
12
     the Plaintiffs employment history described above, which was published to the
13

14   Washoe County Sheriff’s Office, the Las Vegas Metropolitan Police Department,

15   the Carson City Department of Alternative Sentencing, the Douglas County
16
     Sheriff’s Office, the Nevada Department of Public Safety Letter, and the North
17
     Las Vegas Police Department. Specifically, Trotter made the false statement of
18

19   fact that Erwine “clearly violated” Churchill County Sheriff’s Office policies, “on
20
     Taser and Use of Force, as well as, behavior standards.”
21
          100. The aforementioned false statements made by Defendant would
22

23   normally tend to lower the reputation of the Plaintiff in- the community, and in the
24   profession and business or industry in which Plaintiff worked and would excite
25
     derogatory opinions about the Plaintiff and hold the Plaintiff up to contempt.
26

27

28


                                              25
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          101. As a direct and proximate cause of Defendant's conduct, as
 1

 2   described above, Plaintiff was prevented from securing future employment and
 3
     has been damaged in an amount to be proven at trial.
 4
          102. Defendant's false and defamatory statements were made in reckless
 5

 6   disregard of the rights of Plaintiff, and in reckless disregard of the truth of the

 7   matter, and constitute actual or implied malice giving rise of a claim for punitive
 8
     and exemplary damages.
 9

10                                     DEFAMATION PER SE

11                                   (Against All Defendants)
12
          103. Plaintiff repeats and realleges the allegations set forth in the
13

14   foregoing Paragraphs as though fully set forth herein.

15        104. Defendant knowingly made false and defamatory statements about
16
     the Plaintiff's employment history, which was published to the Washoe County
17
     Sheriff's Office, the Las Vegas Metropolitan Police Department, the Carson City
18

19   Department of Alternative. Sentencing, the Douglas County Sheriff's Office, the
20
     Nevada Department of Public Safety Letter, and the North Las Vegas Police
21
     Department. Specifically, Trotter made the false statement of fact that Erwine
22

23   “clearly violated” Churchill County Sheriff’s Office policies, “on Taser and Use of
24   Force, as well as, behavior standards.”
25
          105. Defendant's statements constitute defamation per se in that they
26

27   tend to injure the Plaintiff in his trade, business and profession.

28


                                               26
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          106. As a direct and proximate cause of Defendant's conduct, as
 1

 2   described above, Plaintiff was prevented from securing future employment and
 3
     has been damaged in an amount in an amount to be proved at trial.
 4
          107. Defendant's false and defamatory statements were made in reckless
 5

 6   disregard of the rights of Plaintiff, and in reckless disregard of the truth of the

 7   matter and constitute actual or implied malice giving rise of a claim for punitive
 8
     and exemplary damages in an amount to be proved at trial.
 9

10           INTENTIONAL INTERFERENCE WITH PROSPECTIVE EMPLOYMENT

11                                   (Against All Defendants)
12
          108. Plaintiff repeats and realleges the allegations set forth in the
13

14   foregoing Paragraphs as though fully set forth herein.

15        109. Defendant sent intentionally adverse and false statements regarding
16
     Plaintiffs employment history to numerous potential employers of Plaintiff.
17
          110. Defendant knew that prospective business relationships existed and
18

19   acted intentionally to interfere with those prospective business relationships,
20
     specifically the Washoe County Sheriff’s Office, the Las Vegas Metropolitan
21
     Police Department, the Carson City Department of Alternative Sentencing, the
22

23   Douglas County Sheriff’s Office, the Nevada Department of Public Safety Letter,
24   and the North Las Vegas Police Department, pursuant to its transmission of false
25
     statements concerning Plaintiff's previous employment with Plaintiff.
26

27        111. The Defendant intended to harm Plaintiff by wrongfully preventing

28   Plaintiff from obtaining new employment.

                                               27
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          112. Defendant had no privilege or justification for its wrongful actions.
 1

 2        113. As a direct and proximate cause of Defendant's conduct, as
 3
     described above, the Plaintiff was prevented from securing future employment
 4
     and has been damaged in an amount to be proved at trial.
 5

 6        WHEREFORE, the Plaintiff requests that this Court:

 7        a. Enter a declaratory judgment that the actions complained of herein are
 8
     unlawful and violate the United States Constitution and Nevada law.
 9

10        b. Order Defendants to pay the compensation denied or lost to Plaintiff to

11   date by reason of Defendants’ unlawful actions, in amounts to be proven at trial;
12
          c. Order Defendants to pay compensatory damages for the Plaintiff’s lost
13

14   property and emotional pain and suffering, in an amount to be proven at trial;

15        d. Order Defendants to pay exemplary and punitive damages;
16
          e. Order Defendants to pay attorneys’ fees and costs of the action pursuant
17
     to 42 U.S.C. 1988.
18

19        f. Order Defendants to pay interest at the legal rate on such damages as
20
     appropriate; and
21
          g. Grant any further relief that the Court deems just and proper.
22

23              DATED this Thursday, August 6, 2020

24                                               By:___________________________
25                                               LUKE BUSBY, ESQ.
                                                 NEVADA STATE BAR NO. 10319
26                                               316 CALIFORNIA AVE.
                                                 RENO, NV 89509
27
                                                 775-453-0112
28                                               LUKE@LUKEANDREWBUSBYLTD.COM



                                            28
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 1
                                 CERTIFICATE OF SERVICE
 2

 3
           Pursuant to FRCP 5, I certify that on the date shown below, I caused service to
 4

 5 be completed of a true and correct copy of the foregoing pleading by:

 6 ______        personally delivering;
 7
     ______      delivery via Reno/Carson Messenger Service;
 8
     ______      sending via Federal Express (or other overnight delivery service);
 9

10 ______        depositing for mailing in the U.S. mail, with sufficient postage affixed
                 thereto; or,
11
       X         delivery via electronic means (fax, eflex, NEF, etc.) to:
12

13                     Katherine F. Parks, Esq.
                       Thorndal Armstrong
14                     6590 S. McCarran Blvd. Suite B.
15                     Reno, NV 89509
                       Attorney for the Defendant
16

17
                 DATED this Thursday, August 6, 2020

18                                                  By:___________________________
                                                    LUKE BUSBY, ESQ.
19
                                                    NEVADA STATE BAR NO. 10319
20                                                  316 CALIFORNIA AVE.
                                                    RENO, NV 89509
21                                                  775-453-0112
                                                    LUKE@LUKEANDREWBUSBYLTD.COM
22
                                                    ATTORNEY FOR PLAINTIFF
23

24

25

26

27

28


                                               29
